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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:20-cv-11293-SVW-AGR Date December 22, 2021

 

Title California Department of Toxic Substances Control et al. v. NL Industries, Inc. et al.

 

 

Present: The Honorable STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 

Paul M. Cruz N/A
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
N/A N/A
Proceedings: ORDER GRANTING MOTION TO DISMISS COUNTERCLAIMS [211]

AND GRANTING IN PART MOTION TO STRIKE AFFIRMATIVE
DEFENSES [212]

Before the Court is a Motion to Dismiss Defendants’ Counterclaims, see ECF No. 211, anda
Motion to Strike Affirmative Defenses, see ECF No. 212, brought by Plaintiff California Department of
Toxic Substances Control and the Toxic Substances Control Account (“DTSC” or “Plaintiff’) against
Defendants NL Industries, Inc. (“NL”) and Trojan Battery Company, LLC (“Trojan”) (collectively,
“Defendants”).

I. MOTION TO DISMISS COUNTERCLAIMS

Plaintiff moves to dismiss Defendants’ Counterclaims Four and Five, and NL’s Counterclaims Six
and Seven. For the below reasons, Plaintiff's motion is GRANTED. !

 

! Trojan filed neither an opposition to Plaintiff's motion nor a joinder to NL’s opposition. The “failure to file any required
document, or the failure to file it within the deadline, may be deemed consent to the granting or denial of the motion, with the
exception [of] a motion pursuant to Fed. R. Civ. P. 56...” C.D. Cal. L. R. 7-12. Having considered NL’s arguments—as well
as the other defendants’ earlier arguments as to identical counterclaims—the Court finds that dismissal of Trojan’s
counterclaims is appropriate. There is little risk of prejudice to Trojan, whose counsel provided no explanation for its failure to
oppose the motion. See Patel v. City of Los Angeles, 791 Fed. App’x 688, 689 (9th Cir. 2020).

 

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UNITED STATES DISTRICT COURT
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CIVIL MINUTES - GENERAL
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A. LEGAL STANDARD

Plaintiff moves to dismiss Defendants’ counterclaims under Federal Rules of Civil Procedure Rule
12(b)(6). When the legal sufficiency of a complaint (or counterclaim) is tested by a motion under Rule
12(b)(6) for failure to state a claim upon which relief can be granted, the factual allegations in the
counterclaim must be taken as true. Epstein v. Wash. Energy Co., 83 F.3d 1136, 1140 (9th Cir. 1996).

A court, however, is not “required to accept as true allegations that are merely conclusory,
unwarranted deductions of fact, or unreasonable inferences.” Sprewell v. Golden State Warriors, 266
F.3d 979, 988 (9th Cir. 2001). While a defendant filing a counterclaim need plead only enough facts to
state a claim to relief that is plausible on its face, this “plausibility” standard asks for “more than a sheer
possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556-557 (2007)). “Threadbare recitals of the elements of a
cause of action, supported by mere conclusory statements, do not suffice.” Jd.

B. DISCUSSION
1. Counterclaims Four and Five

Defendants’ Counterclaims Four and Five allege claims for recoupment identical to those
previously dismissed by this Court as to the other defendants in this matter. See ECF No. 177. In its
previous order, the Court found that the other defendants’ counterclaims, which sought recoupment based
on Cal. Gov’t Code § 815.6 and Cal. Health & Safety Code § 25400(b), failed to state a claim for relief.
See id.

NL includes new allegations in its opposition, asserting that Plaintiff is also liable under Cal. Civ.
Code § 1714(a) and the “state-created danger” doctrine. Generally, parties may not add new allegations
to a complaint or counterclaim in opposition to a motion to dismiss. See Mountjoy v. Bank of Am. Home
Loans, No. 2:15-cv-02204, 2016 WL 4192416, at *4 (E.D. Cal. Aug. 9, 2016).

In its previous order, the Court noted that claims for recoupment were likely inconsistent with
CERCLA’s statutory framework and purpose, but declined to find the claims barred for that reason. See
ECF No. 177. The Court now finds this to be the case. Thus, NL’s new allegations fail to move its
counterclaims beyond the threshold of Fed. R. Civ. P. 12(b)(6).

 

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A small number of courts have grappled with the nuanced relationship between a common law
claim for recoupment and CERCLA’s statutory remedies. Generally, these courts have found
recoupment unavailable in the context of CERCLA. See, e.g., United States v. Rohm & Haas Co., 939 F.
Supp. 1157, 1162-63 (D. N.J. 1996) (holding that “allowing recoupment claims in effect allows remnants
of the common law to infect what Congress meant to establish with CERCLA” because CERCLA
provides “clear statutory relief”); United States v. Keystone Sanitation Co., 867 F. Supp. 275, 282-84
(M.D. Pa. 1994) (finding recoupment “‘a rather tortured concept in the context of a CERCLA § 107 cost
recovery action,” seemingly “inconsistent with the statutory scheme” of CERCLA but postponing final
ruling on recoupment issue); United States v. Iron Mountain Mines, Inc., (“Iron Mountain Mines IT’) 881
F. Supp. 1432, 1454 (E.D. Cal. 1995) (“[T]here is no compelling need for application of the recoupment
doctrine in the context of a government cost recovery action under CERCLA because CERCLA itself
permits the defendant in a suit by the government to seek contribution and make claims against the
government.’’).

In its review of cases in which defendants were permitted to assert claims for recoupment, the
Court found these cases only marginally touched on the question now before the Court, if at all. For
example, the court in Montrose—which permitted counterclaims for recoupment to go forward—only
discussed a tangentially-related issue in a few short sentences. United States v. Montrose Chem. Corp. of
California, 788 F. Supp. 1485, 1496 (C.D. Cal. 1992). Similarly, the court in Jron Mountain Mines III
did not clearly explain its rationale or the basis for its reasoning. United States v. Iron Mountain Mines,
Inc., 952 F. Supp. 673, 677 (E.D. Cal. 1996) (“Zron Mountain Mines IIT’); see also Berrey v. Asarco Inc.,
439 F.3d 636, 644 (10th Cir. 2006) (discussing a recoupment claim in the context of tribal sovereign
immunity).

More recently, in General Electric, the district court discussed the relevant authorities extensively
and found the defendants’ claim for recoupment barred. New York v. Gen. Elec. Co., No. 1:14-CV-747,
2015 WL 12748007, at *12 (N.D.N-Y. Sept. 29, 2015). Permitting the claim to go forward “could result
in the application of a standard and remedy not provided for by Congress as part of its statutory scheme,
and may allow for relief when CERCLA itself would not[.]” See id.

Like in General Electric, Defendants’ counterclaims for recoupment would “undermine the
statutory scheme devised by Congress[,] which permits only those defenses listed in CERCLA section

 

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107(b) to be asserted during the liability phase of a CERCLA cost recovery action[.]” See id. (citing
United States v. American Color and Chem. Corp., 858 F. Supp. 445, 453 (M.D. Pa. 1994)).

For this reason, the Court finds that CERCLA’s statutory scheme does not permit Defendants’
Counterclaims Four and Five to go forward.” Accordingly, Defendants’ Counterclaims Four and Five are
dismissed.

2. Counterclaim Six

NL’s Counterclaim Six is a counterclaim for equitable indemnity. See Answer §§ 106-110.
“Equitable indemnity principles govern the allocation of loss or damages among multiple tortfeasors
whose liability for the underlying injury is joint and several.” Expressions at Rancho Niguel Ass’n v.
Ahmanson Devs., Inc., 86 Cal. App. 4th 1135, 1139 (2001). “Such principles are designed, generally, to
do equity among defendants who are legally responsible for an indivisible injury by providing a basis on
which liability for damage will be borne by each joint tortfeasor “in direct proportion to [its] respective
fault.” Jd. (internal quotations and citation omitted).

“The elements of a cause of action for indemnity are (1) a showing of fau/t on the part of the
indemnitor and (2) resulting damages to the indemnitee for which the indemnitor is contractually or
equitably responsible.” Jd. (emphasis in original). In other words, for its equitable indemnity claim to
go forward, NL must state a viable claim for liability against Plaintiff. See Munoz v. Davis, 141 Cal. App.
3d 420, 425 (1983) (“[T]here can be no indemnity without liability.”).

However, NL fail to plead any statutory basis for its claim, as required pursuant to the California
Government Claims Act. See Cal. Gov’t. Code § 815. Rather, Defendants vaguely refer to nuisance,
CERCLA, the HSAA, and “other law.” This requires the Court and Plaintiff to improperly speculate as
to various bases for liability. Though Plaintiffs’ motion identifies a number of reasons why NL’s
Counterclaim Six is deficient, NL does not address any of Plaintiffs’ arguments.? See Opp’n at 9.

 

? Because Defendants’ counterclaims are not viable, the Court need not decide whether Defendants’ counterclaims are
compulsory or permissive. See ECF No. 177; see also United States v. Montrose Chem. Corp. of Cal., 788 F. Supp. 1485,
1493 (C.D. Cal. 1992).

3 For example, Defendants’ equitable indemnity claim cannot be based on Plaintiff's hypothetical CERCLA or HSAA liability
because it would be duplicative of Defendants’ Counterclaims One and Three. These counterclaims are already predicated on
potential Plaintiff's liability for contribution/indemnity under CERCLA and the HSAA. See 42 U.S.C. § 9613(f); Cal. Health
& Safety Code § 25363(d).

 

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For these reasons, NL’s Counterclaim Six is dismissed.
3. Counterclaim Seven

Defendants’ Counterclaim Seven alleges a claim for negligence per se. Defendants concede that
dismissal of this counterclaim is appropriate. Counterclaim Seven, therefore, is dismissed.

C. CONCLUSION
For the above reasons, Plaintiffs’ Motion to Dismiss Defendants’ counterclaims is GRANTED.
IL. MOTION TO STRIKE AFFIRMATIVE DEFENSES

Plaintiff moves to strike from NL’s Affirmative Defenses No. 12, 14, 16, 17, 18, 20, 21, 22, 23, 24,
28, 29, 30, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48, and 49. Plaintiff also moves to
strike Trojan’s Affirmative Defenses No. 2, 4, 5, 6, 7, 8, 10, 12, 14, 15, 16, 22, 23, 26, 30, and 31.4

For the below reasons, Plaintiff’s motion is GRANTED IN PART. It is DENIED as to NL’s
Affirmative Defenses No. 16 and 39.

A. LEGAL STANDARD

Federal Rule of Civil Procedure 12(f) provides that a party may make a motion to strike any
“insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P.
12(f). The purpose of a Rule 12(f) motion is to avoid the costs that arise from litigating spurious issues
by dispensing with those issues prior to trial. Sidney-Vinstein v. A.H. Robins Co., 697 F.2d 880, 885
(9th Cir. 1983). Under the plain meaning of the rule, there are five categories of allegations that are

 

4 As with the Motion to Dismiss Defendants’ counterclaims, Trojan did not file an opposition to Plaintiff's Motion to Strike.
Seen. 1, supra. Having considered NL’s arguments as to many similar affirmative defenses, as well as the other defendants’
earlier arguments as to identical defenses, the Court strikes Trojan’s Affirmative Defenses No. 2, 4, 5, 6, 7, 8, 10, 12, 14, 15, 16,
22, 23, 26, 30, and 31. The Court’s finds that the factors set forth Ghazali v. Moran, 46 F.3d 52, 53 (9th Cir. 1995) (describing
“(1) the public’s interest in expeditious resolution of litigation; (2) the court’s need to manage its docket; (3) the risk of
prejudice to the defendants; (4) public policy favoring disposition of cases on their merits, and (5) the availability of less drastic
sanctions”’) weigh in favor of granting Plaintiffs motion.

 

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properly subject to a motion to strike. Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 973-74 (9th
Cir. 2010) ((1) an insufficient defense; (2) redundant; (3) immaterial; (4) impertinent; or (5) scandalous).

An insufficient defense will depend “upon the nature of the affirmative pleader's claim for relief
and the particular defense that is in question. 5C Charles A. Wright & Arthur R. Miller, Federal
Practice and Procedure § 1382 (2004). Redundant material “consists of allegations that constitute a
needless repetition of other averments in the pleading.” Jd. Scandalous “matter is that which
improperly casts a derogatory light on someone, most typically on a party to the action.” Jd. Immaterial
matter is defined as matter that “has no essential or important relationship to the claim for relief or the
defenses being pleaded.” Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993) (internal
citations omitted), rev’d on other grounds, 510 U.S. 517 (1994). Impertinent matter is defined as
“statements that do not pertain, and are not necessary, to the issues in question.” Jd.

As discussed in its previous order, the Court notes that under Fed. R. Civ. P. 15(a), leave to amend
to plead additional affirmative defenses is freely granted, and any stricken defenses may be later asserted
if deemed necessary, in compliance with the Federal Rules of Civil Procedure.

B. DISCUSSION

Similar to its motion to strike the affirmative defenses pled by other defendants in this matter,
which was the subject of the Court’s order at ECF No. 176, Plaintiff moves to strike a number of
categories of NL’s affirmative defenses. NL concedes that striking Affirmative Defenses No. 12, 36, 37,
41, 42, 43, 45, 46, and 47 is appropriate. The Court considers NL’s remaining affirmative defenses
below.

1. Equitable Defenses

NL’s Affirmative Defenses No. 17, 18, 23, 24, and 33 raise equitable defenses, which NL argues
are available as a result of Plaintiff's nuisance claim. The court in ConAgra Grocery held, “It is clear,
however, that neither the doctrine of estoppel nor any other equitable principle may be invoked against a
governmental body where it would operate to defeat the effective operation of a policy adopted to protect
the public.” People v. ConAgra Grocery Prod. Co., 17 Cal. App. 5th 51, 136 (2017). NL does not
address this argument in its opposition and does not otherwise dispute that equitable defenses are

 

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unavailable as to Plaintiff's CERCLA and HSAA claims. Thus, NL’s equitable affirmative defenses are
stricken.
2. Ripeness

NL’s Affirmative Defense No. 14 asserts that Plaintiffs claims “are barred by the doctrine of
ripeness.” NL does not plead a factual basis for this defense, but argues in its opposition that Plaintiff
might incur additional cleanup costs in the future. The Court is not persuaded that this renders Plaintiffs
claims unripe. Accordingly, Affirmative Defense No. 14 is insufficient as a matter of law.

3. Attorneys’ Fees and Interest

NL’s Affirmative Defense Nos. 29 and 30. Affirmative Defense No. 29 asserts that attorneys’
fees are not recoverable under CERCLA, but such fees are in fact recoverable response costs. NL’s
opposition implicitly concedes that, if it is liable under CERCLA, it is liable for attorneys’ fees.
Sunilarly, Affirmative Defense No. 30 relates to pre-judgment or post-judgment interest. This too is
recoverable under CERCLA section 107(a), and NL only states that Plaintiff will not have a valid
CERCLA claim against NL. The Court finds these two defenses insufficient, and strikes them
accordingly.

4. Retroactivity Defenses

NL’s Affirmative Defense No. 34 and 35 relate to retroactivity. CERCLA and the HSAA impose
liability retroactively. See Anderson Bros. v. St. Paul Fire & Marine Ins. Co., 729 F.3d 923, 926 (9th Cir.
2013). Though NL raises Constitutional questions as to the validity of this statutory framework, the
Court considered this question extensively in its prior order. See id.; see also ECF No. 103. Thus, these
affirmative defenses are stricken.

5. Negligence/Causation Defenses

NL’s Affirmative Defenses No. 20, 21, 32 and 44 relate to causation, alleging that NL’s conduct
in handling substances or operating the Vernon Plant did not cause injury to Plaintiffs. However, such
defenses are insufficient as a matter of law in light of the statutory defenses set forth in 42 U.S.C.

§ 9607(b). See Alco Pacific, 217 F. Supp. 2d 1028, 1037 (C.D. Cal. 2002) (citing Alcan Aluminum Corp.,
990 F.2d at 721); United States v. Monsanto Co., 858 F.2d 160, 167 (4th Cir. 1988) (rejecting defenses

 

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because the “elements of tort culpability on which the site-owners rely simply are absent from the
statute”); United States v. Marisol, Inc., 725 F.Supp. 833, 838-40 (M.D. Pa. 1989) (finding that “claims
by defendants that they were not negligent or that they exercised due care cannot be used to avoid
liability” and that the defense “that the third party was the proximate cause” of the contamination was
insufficient because it failed to plead that the third party was “totally unrelated” to defendant as required
by CERCLA). The Court is not persuaded that a “two-site” CERCLA case, Castaic Lake Water
Agency v. Whittaker Corp., 272 F. Supp. 3d 1053, 1066 (C.D. Cal. 2003) is relevant here.

Sunilarly, Affirmative Defense No. 22 alleges Plaintiff's failure to mitigate, which the Court
struck in its previous order with respect to the other defendants. Though the court in United States v.
Hardage, 116 F.R.D. 460, 466 (W.D.Okla. 1987) declined to strike a failure to mitigate defense, a number
of cases have held to the contrary. See, e.g., Dep’t of Toxic Substances Control v. Jim Dobbas, Inc., No.
2:14-595, 2014 WL 4627248; Marisol, 725 F.Supp. at 841 (“[T]he court finds no persuasive authority
which imposes a legal duty upon the Government to mitigate damages in a CERCLA action”).

Further, Affirmative Defenses No. 18, 28, and 38 relate to Plaintiff's own “fault” for the releases.
“{C]ourts have consistently ‘rejected negligence on the part of the government as a defense to liability in
CERCLA actions.’” Dobbas, 2014 WL 4627248 at *10 (citing Alco Pacific, 217 F.Supp.2d at 1037)
(striking contributory fault defense and citing cases); United States v. Kramer, 757 F.Supp. 397, 419
(D.N.J. 1991) (“[T]he defense that the United States was contributorily negligent, caused the harm at the
Site or assumed the risk of harm at the Site, are all insufficient and must be stricken”). Finding the above
authorities persuasive, the Court strikes these affirmative defenses.

6. Cost-Related Defenses

NL’s Affirmative Defense No. 48 provides a defense for proration and offset for “...(2) all funds
provided to DTSC pursuant to legislation passed by the State of California, for investigation and/or
remediation of this Site.” The Court previously struck similar language in its earlier order discussing
the other defendants’ similar affirmative defenses. This portion of Affirmative Defense No. 48 is
therefore stricken.

 

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7. Apportionment/Contribution Defenses

NL’s Affirmative Defense No. 16 states: “DTSC is not entitled to recover costs, or any other
expenses, and NL is not jointly and severally liable for costs, or any other expenses arising from
contamination that is divisible from contamination attributable to NL, if any.” Affirmative Defense No. 39
states: “NL denies liability for any and all damages alleged in the Complaint. To the extent that NL is
found liable for any of the damages alleged in the Complaint, NL alleges that it is entitled to an appropriate
proration of damages because of the negligence and fault of other parties named and/or not named in this
action.” In its previous order, the Court noted that divisibility is a valid defense. Therefore, it declines
to strike Affirmative Defenses No. 16. and 39, which relate to this issue.

8. Failure to Join Parties

NL’s Affirmative Defense No. 40 asserts that Plaintiffs failed to join certain defendants.
However, a government entity “is under no obligation to sue all potentially responsible parties in a
CERCLA Section 107 cost recovery action.” City of Colton v. Am. Promotional Events, Inc., 2012 WL
32606, at *6 (C.D. Cal. 2012). This defense is also redundant of Affirmative Defense 11, which
Plaintiffs do not move to strike, asserting that Plaintiffs failed to join indispensable parties. Therefore,
Affirmative Defense No. 40 is stricken.

9. Claims Barred by Lead-Paint Settlement

NL’s Affirmative Defense No. 49 asserts that Plaintiffs’ claims are barred by a settlement that
resolved claims against a number of defendants involving soil lead contamination. This Court has
already ruled that Plaintiffs’ claims are not barred by that settlement. See MTD Order at 19-20. Asa
result, this defense is insufficient as a matter of law.

Il. CONCLUSION

For the reasons discussed above, Plaintiff's Motion to Dismiss Defendants’ counterclaims is
GRANTED. Plaintiffs Motion to strike certain of Defendants’ Affirmative Defenses is GRANTED IN
PART. The Court declines to strike NL’s Affirmative Defenses No. 16 and 39.

IT IS SO ORDERED.

 

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